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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



    RENAY LYNCH,
    ​                                      Plaintiff,
    ​    -against-

    The TOWN OF AMHERST, Michael J. Melton,                 25-cv-00075-LJV
    Joseph LaCorte, Raymond Klimczak, and the
    COUNTY OF ERIE,

                                           Defendants.




                     DECLARATION OF ATTORNEY LUNA DROUBI:
        I, Luna Droubi, declare under penalty of perjury as follows pursuant to 28 U.S.C. § 1746:
        1.​    I am an attorney for Renay Lynch.

        2.​   On March 3, 2025, I reached out to counsel for the Amherst Defendants by phone
        and email.

        3.​   After receiving no response, I again reached out to counsel for the Amherst
        Defendants by phone and with an email follow-up on March 12, 2025.

        4.​     In the March 12, 2025 exchange, I mistakenly identified February 24, 2025, as
        being the deadline for the Individual Defendants to respond to Plaintiff’s complaint. The
        actual deadline for the Individual Defendants to respond was February 21, 2025.

        5.​    The screenshots attached heretofore as Exhibit 1 are a true and accurate
        representation of my email exchanges with counsel for Amherst Defendants.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 23, 2025, in New York, New York.

​       ​      ​       ​       ​       ​       ​        ​     ​       ​      /s/ Luna Droubi
​       ​      ​       ​       ​       ​       ​        ​     ​       ​      Luna Droubi
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            EXHIBIT 1
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